                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :

             v.                              :    Crim. No. 1:22-cr-00015-APM

JOSHUA JAMES                                 :


                   CONSENT MOTION TO CONTINUE SENTENCING

       COMES now Mr. Joshua James, by counsel, and respectfully requests the Court continue

the sentencing hearing, and corresponding briefing and presentence report deadlines, currently

scheduled for September 13, 2024. As grounds for this continuance request, Mr. James offers the

following:

1. Mr. James awaits sentencing after having pleaded guilty to one count of seditious conspiracy,

   in violation of 18 U.S.C. § 2384, and one count of obstruction of an official proceeding, in

   violation of 18 U.S.C. §1512(c)(2).1

2. On June 28, 2024, the Supreme Court rendered its decision in Fischer v. United States, 603

   U.S. ___ (2024), regarding the scope of 18 U.S.C. § 1512(c) as it applies to the events of

   January 6. Mr. James and the Government are in the process of determining how the decision

   will impact Mr. James’s case and the parties’ positions at sentencing.


1 Prior to entering into a plea agreement with the government, Mr. James’s moved to dismiss the

obstruction of an official proceeding count against him. See 1:21-cr-00028, ECF Nos. 240 and
268. On September 1,4 2024, this Court issued an order denying the motion to dismiss. See ECF
No. 415.
3. As additional grounds for the continuance, Defendant Jonathan Walden’s trial,2 which was

   set for July 29, 2024, was recently converted to a September 3, 2024 status date in light of

   the Fischer decision.    In the event that the government elects to move forward with its

   prosecution against Mr. Walden, Mr. James may be called upon by the government in trial

   preparation or at trial itself in that matter. Should that be the case, the Court could most

   efficiently consider the full scope of Mr. James’s potential substantial assistance to the

   government’s investigation at a sentencing hearing that post-dates the Walden case.

4. As a final ground for continuance, members of Mr. James’s defense team were scheduled to

   fly to Alabama on July 19, 2024 to finalize witness interviews in preparation for Mr. James’s

   sentencing hearing. However, due to a global Microsoft/CrowdStrike outage that occurred

   the same day, their flight was canceled. The trip was rescheduled for a date in mid-August,

   which was the next available date that did not conflict with the schedules of any team

   member.

5. Undersigned counsel has consulted with the counsel for the government, who do not oppose

   this request.

6. The parties have discussed new sentencing dates and propose any of the following dates:

   November 13, 14, 15, 16, or 18.

       WHEREFORE, Mr. James, by counsel, respectfully submits this motion to continue the

sentencing hearing.




2 United States v. Walden, Case No. 22-cr-14.

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Respectfully submitted,

By Counsel
____________/s/_____________
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